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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

GEORGIA MUSLIM VOTER                      *
PROJECT, et al.,                          *
                                          *
      Plaintiffs,                         *         CA No. 1:18cv4789-LMM
                                          *
vs.                                       *
                                          *
BRIAN KEMP, in his official capacity      *
as Secretary of State of Georgia, et al., *
                                          *
      Defendants.                         *
___________________________________ *

RHONDA J. MARTIN, et al.,                    *
                                             *      CA No. 1:18cv4776-LMM
      Plaintiffs,                            *
                                             *
v.                                           *
                                             *
BRIAN KEMP, et al.,                          *
                                             *
      Defendants.                            *

                DEFENDANT1 BRIAN KEMP’S OBJECTIONS
                  TO FORM OF PROPOSED INJUNCTION

      The Secretary shares the concerns that Gwinnett County has raised with

respect to the implementation of the Court’s proposed injunction, as stated in the


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 The Martin Plaintiffs have brought this action against both the Secretary and the
State Election Board. Since the Injunction is directed at the Secretary, these
Objections are filed on behalf of Secretary Kemp.
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Supplemental Declaration of Lynn Ledford. In addition, the Secretary objects to

the following aspects of the proposed injunction:

   1. The hearing and appellate process included in the proposed injunction, is

      unworkable given the need to have votes counted and the election certified

      by the Monday after the election. O.C.G.A. § 21-2-493(k). The hearing and

      appellate process in O.C.G.A. § 21-2-229(e), designed to address challenges

      to the qualifications of voters for purposes of voter registration, was not

      designed with the election timeframe in mind. Since the hearings

      contemplated by O.C.G.A. § 21-2-229 address registration issues, and not

      challenges to ballots, these hearings may occur at any time throughout the

      year and the timeframe established in the statute simply does not

      contemplate the need of election officials to have a final count of votes and

      certify an election. Additionally, a more informal and manageable process,

      of allowing voters to simply provide proof of identification to the county

      election official, even if by faxing or emailing a copy of one’s photo

      identification to election officials, along with an oath that they indeed

      executed the absentee ballot envelope, would be sufficient relief to the voter

      and cause less disruption to county election officials at a time when these

      officials are already working at maximum capacity.

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2. The issuance of a provisional ballot to all absentee ballot applicants with a

   signature mismatch is problematic. The provisional ballot is a mechanism

   created to address the problem of a voter who appears to vote at a polling

   place on the day of election, or during in person early voting, but does not

   appear on the voter registration rolls, does not have photo identification at

   the time of voting, or is voting outside of their polling place. See O.C.G.A.

   §§ 21-2-418 and 21-2-419; and 52 U.S.C. § 21082(a).

3. Providing provisional ballots to voters that do appear on the registration

   rolls, and are therefore eligible to vote in person or by absentee mail, will

   require tagging those voters so that they may not vote twice. Technical staff

   at the Secretary of State’s Office have been trying to figure out how best to

   address the problems that may arise from using the provisional ballot in this

   manner. See Supplemental Declaration of Chris Harvey ¶¶ 4-7. At a

   minimum, however, a voter who is provided a provisional ballot, because of

   a signature mismatch on the absentee voter application, would not be

   eligible to receive a second absentee ballot application and a mail absentee

   ballot, as contemplated by O.C.G.A. § 21-2-381 and O.C.G.A. § 21-2-386.

   This is in order to prevent a voter from casting two ballots. Therefore, a




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      remedy currently available under state law would not be available for the

      remainder of the election period.

   4. There is no appeals process for provisional ballot determinations. See

      O.C.G.A. § 21-2-419 and 21-2-417(c); 52 U.S.C. § 21082(a). Therefore,

      provisional ballots issued solely pursuant to this Court’s Order, will have to

      be separated from other provisional ballots issued during the election.

   5. Defendant submits that the language in paragraph 3 of the proposed

      injunction should more clearly state that the injunction is limited to ballots

      that would otherwise be rejected solely for a signature mismatch.

   6. Defendant submits the Supplemental Declaration of Chris Harvey, Elections

      Director for the State of Georgia. Mr. Harvey’s supplemental declaration

      provides further technical detail with respect to the difficulties of

      implementing injunctive relief in the form proposed by the Court.

                                     CONCLUSION

      Defendant appreciates the opportunity to address the form of injunctive

relief proposed by the Court and prays the Court reconsider the magnitude of any

changes imposed to the state’s current election structure.




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                                    Respectfully submitted,

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                           Certificate of Compliance

      I hereby certify that the forgoing Objections to Proposed Injunction were

prepared in 14-point Times New Roman in compliance with Local Rules 5.1(C)

and 7.1(D).




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                                 Certificate of Service

      I hereby certify that on October 25, 2018, I electronically filed these

Objections to Proposed Injunction with the Clerk of Court using the CM/ECF

system which will automatically send e-mail notification of such filing to the

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      I hereby certify that I have mailed by United States Postal Service the

document to the following non-CM/ECF participants: NONE

      This 25th day of October, 2018.

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